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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BRITTANY SPENCER,                             )
                                              )
               PLAINTIFF,                     ) Case No.        1:14-cv-1541 (CRC)
       vs.                                    )
                                              )
                                              )
DISTRICT OF COLUMBIA, et al.,
                                              )
                                              )
               DEFENDANTS.


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Clerk of the above Court

will please note that all claims in the above-captioned matter are DISMISSED WITH

PREJUDICE. The parties shall bear their own costs.



Dated: November 1, 2016

Respectfully submitted,

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*Admitted to practice only in California. Practicing in the District of Columbia under the direct
supervision of Martha J. Mullen, a member of the D.C. Bar, pursuant to D.C. Court of Appeals
Rule 49(c)(4).




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